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                                      No. 23-1059


                 United States Court of Appeals
                     for the Fourth Circuit
                        SOUTH CAROLINA STATE PORTS AUTHORITY,
                                                                         Petitioner,
                                        and
                THE STATE OF SOUTH CAROLINA; UNITED STATES MARITIME
                                  ALLIANCE, LTD.,
                                                   Intervenors for Petitioner,
                                         v.
                          NATIONAL LABOR RELATIONS BOARD,
                                                                 Respondent,
                                        and
               INTERNATIONAL LONGSHOREMEN’S ASSOCIATION, LOCAL 1422;
                    INTERNATIONAL LONGSHOREMEN’S ASSOCIATION,
                                               Intervenors for Respondent.

                        On Petition for Review of an Order of the
                            National Labor Relations Board

             SUPPLEMENTAL BRIEF OF INTERVENOR INTERNATIONAL
            LONGSHOREMEN’S ASSOCIATION IN RESPONSE TO BRIEF OF
             INTERVENOR UNITED STATES MARITIME ALLIANCE, LTD.


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                                            INTRODUCTION

                   For decades, United State Maritime Alliance, Ltd. (USMX) (and its

        predecessor organizations) and the ILA have negotiated and administered the Master

        Contact. After defending the Master Contract’s work-preservation agreements twice

        before the United States Supreme Court, numerous times before various courts of

        appeals, and in countless administrative proceedings, USMX now flips it position

        by arguing that the Board erred when it ruled that USMX and its carrier members

        have the right of control over container cargo.

                   Despite what USMX says, the ILA has never argued that USMX controls the

        assignment of lift-equipment jobs at Leatherman Terminal. However, the Board

        affirmed the ALJ’s finding—based upon record evidence—that USMX’s carrier

        members do have control over where they bring their containers. The carriers bring

        their containers where they know work will be performed by the bargaining unit,

        and avoid the locations not staffed by the bargaining unit. That is how the Master

        Contract has worked for over half a century—as USMX is well aware. This Court

        should not entertain USMX’s eleventh hour heel-turn.

                                     SUMMARY OF ARGUMENT

                   The no-subcontracting clause in the Master Contract has meant predictability

        in the industry. In 2021, when two USMX carrier members risked disrupting that

        stability by calling at a new terminal, and after USMX refused to arbitrate, the ILA
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        sued, asking the court to enforce the carriers’ promise not to contract out Master

        Contract work.

                   USMX claims the Board erred because it “dodged the undisputed fact” that

        the SCSPA controls the assignment of lift-equipment jobs at Leatherman Terminal.

        USMX Br. 6. But the Board and the ALJ never found, nor did the ILA argue, that

        USMX has control over the assignment of jobs at Leatherman. Rather, the Board

        and ALJ agreed that the carriers have control over the loading and unloading of

        containers generally on a coastwide basis. JA1332; JA0948.

                   USMX now argues for the first time that Article 7, Section 7 of the Master

        Contract somehow changes the equation. But that section is irrelevant to the ILA’s

        lawsuit, which relies on the no-subcontracting clause. Moreover, as the ALJ held,

        there is no evidence in the record that Article 7, Section 7, reflected the parties’

        intention to carve out Charleston from the multi-port bargaining unit. JA0948, fn

        32.

                   Doubling down, USMX takes the fanciful position that the carriers’ right to

        control their containers is not supported by the record in this proceeding. This

        argument is particularly dubious given that a number of carriers threatened to bypass

        Charleston altogether and SCSPA’s president testified that Leatherman was built to

        entice USMX carriers to exercise their control to bring more cargo to Charleston.




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                   Tellingly, USMX ignores the wealth of precedent—including a case from this

        Court—ruling unequivocally that the carriers control where they subcontract.

        USMX instead relies on an inapposite case involving another union’s demand that

        two jobs be reassigned to its members at a specific location.

                   Perhaps realizing the frailty of these arguments, USMX also salts in its

        fallback position: that the ILA somehow waived its right to enforce the no-

        subcontracting clause in the Port of Charleston. But the Board correctly held that it

        was not the proper forum to resolve any contractual dispute between the bargaining

        parties. JA1333.

                                              ARGUMENT

                    USMX’S CARRIER MEMBERS CONTROL THE WORK
                 PERFORMED ON THEIR CONTAINERS BY BRINGING THESE
                    CONTAINERS TO LOCATIONS OF THEIR CHOOSING

                   USMX’s brief largely argues against the straw man that carriers cannot assign

        the lift-equipment job at Leatherman Terminal. But the ILA has never argued, nor

        did the Board find, that the carriers could. Rather, both the Board and ALJ found

        that the carriers do have control over the work performed on their containers

        coastwide. JA0948; JA1332.

                   Throughout this proceeding the ILA has maintained that carriers control the

        unloading and loading of containers by controlling where they send their




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        containers. JA0510. As the Supreme Court has explained, the relevant inquiry is

        whether:

                        [T]he union’s efforts are directed at its own employer on a
                        topic affecting employees’ wages, hours, or working
                        conditions that the employer can control, or, instead, are
                        directed at affecting the business relations of neutral
                        employers and are “tactically calculated” to achieve union
                        objectives outside the primary employer-employee
                        relationship.

        NLRB v. Int’l Longshoremen’s Ass’n, 73 U.S. 61, 81 (1985) (“ILA II”). The carriers

        do have control over where they send their vessels. The ILA’s lawsuit requires the

        carriers to abide by their promise made in the Master Contract’s no-subcontracting

        clause.

        A.         The Board’s Finding That the Carriers Had the Right of Control
                   Over the Work in Question Was Based on Substantial Evidence

                   Perplexingly, USMX argues that the Board’s conclusion about the carriers’

        right of control is entitled to “no deference” because it conflicts with the findings of

        the ALJ. But the ALJ reached the same conclusion. To determine the carriers

        controlled the work performed on their containers, the Board simply had to adopt

        the ALJ’s following finding of fact:

                        [W]hile SCSPA controls the lift-equipment work at the
                        Port of Charleston Terminals, the USMX carrier-
                        members, like the carrier-members in ILA I and II, own or
                        lease their containers, and, therefore, determine what ports
                        they call on, which ultimately gives the carriers the right
                        to control who performs the lift-equipment work on their
                        containers.
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        JA0948.

                   Despite what USMX says, the ALJ specifically stated that his conclusion was

        “evidenced by those carrier-members that demanded SCSPA redirect their

        scheduled calls from the Leatherman Terminal to the Wando Terminal, as well as

        those carriers that threatened to bypass the Port of Charleston altogether if they were

        not redirected away from the Leatherman Terminal.” JA0947; see also JA0611-12;

        JA0635-36. As the ALJ observed:

                         Within two weeks of the ILA filing its lawsuit, five USMX
                         carrier-members contacted SCSPA and demanded to
                         change their scheduled calls from the Leatherman
                         Terminal to the Wando Terminal, because they did not
                         want to get enmeshed in the above lawsuit. SCSPA
                         controls on what terminal the ships are assigned to call.
                         Some of those carriers threatened to have their ships
                         bypass the Port of Charleston altogether in favor of the
                         Port of Savannah if they were not allowed to change
                         terminals. SCSPA eventually granted their requests to
                         change terminals and call on the Wando Terminal.

        JA0938.

                   The record evidence likewise clearly demonstrated the carriers’ control over

        which port they chose to call at within the ILA’s coastwide unit, e.g., with carriers

        threatening not to call at Charleston if forced to berth at Leatherman. E.g., JA0611-

        12 (COSCO Shipping Lines writes “[f]or the reasons set forth below, we request

        your confirmation. . . that the Vessel will be permitted to berth at the Wando Welch

        terminal, failing which COSCO will redirect the Vessel to call at the Port of

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        Savannah, Georgia and there discharge its cargo previously slated for Charleston.”);

        JA0123:8-17 (SCSPA president James Newsome testifying that CMA’s CEO told

        him that he “would rather spend a million dollar -- he would -- he would omit the

        Port of Charleston and only call Savannah if we forced him to go to the Leatherman

        Terminal . . . In other words, they would omit the Port of Charleston and spend $1

        million to -- to move the cargo from Charle -- intended for Charleston from

        Savannah if we forced them to come to the terminal.”).

                   Further, USMX CEO Dave Adam testified that there were circumstances that

        could require carriers to exercise their control by not calling at a facility:

                         What it had to do was the potential of [] a third party
                         coming in or the port expanding their [] workforce
                         jurisdiction, displacing the ILA and [ ] and displacing the
                         [] components of the bargaining unit. And that may
                         create a circumstance where a carrier could not call --
                         one of our member companies -- carriers could not call
                         that facility. If [] a private equity company invested in the
                         facility and [] automated the back land and was not a
                         member of the USMX-ILA master contract, then that may
                         have triggered the language that talks about carriers
                         not being able to call there.

        JA0201-02. Likewise, USMX’s former counsel Donato Caruso testified that the

        Containerization Agreement could require the carriers to exercise their right of

        control over the containers and refuse to call on specific terminals. JA0314, ll. 19-

        23 (Caruso acknowledging that the Containerization Agreement could be used by

        the ILA to “prohibit the carriers from calling at a terminal that was not completely


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        manned by ILA Labor.”).             And Newsome further testified that it was well

        understood that carriers chose to call on Charleston over other ports because of the

        port’s competitive business model. JA0076, ll. 14-18 (“And then I told him I was

        very sure that--that knowing them or any ocean carrier with my ocean carrier

        background, that I was sure that they wouldn't use a terminal where they had to pay

        more if the cost structure was higher and it cost them more to do that.”).

                   As explained in the principal ILA’s brief, the point of the “right-to-control”

        test is whether the targeted employers have the power to accede to the union’s

        demands. NLRB v. Enter. Ass’n of Pipefitters Local 638, 429 U.S. 507, 521 (1977)

        (“Pipefitters”) (the issue is whether the employer “did have the power to settle the

        dispute with the union”). USMX cannot seriously argue that its carriers are unable

        to accede to the ILA’s demand here because the carriers have acceded by not calling

        at Leatherman Terminal. E.g., JA0611-12; JA0635-36.

                   In ILA I, the D.C. Circuit explained exactly why the carriers control the work:

                         [The] shippers[,] the employers of the boycotting ILA
                         members in these cases and the coerced employers under
                         Pipefitters[,] controlled the disposition of all the
                         containers at issue . . . Thus when the relevant Container
                         Committees found the shippers in violation of the Rules
                         and fined them, the shippers, after unsuccessfully seeking
                         indemnification from the truckers and consolidators,
                         simply refused to supply their containers to the truckers
                         and consolidators . . . It is difficult to imagine a more
                         forceful demonstration of control.



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        Int’l Longshoremen's Ass’n v. NLRB, 613 F.2d 890, 912–13 (D.C. Cir. 1979). The

        carriers have discretion with whom they subcontract, they can dictate specifications

        to the subcontractors, and if the subcontractors cannot or will not agree, the carriers

        can look elsewhere to bring their cargo.

                   In ILA I, on appeal to the Supreme Court, USMX’s predecessor Council of

        North Atlantic Shipping Associations (CONASA) argued as follows:

                         In all of the Board decisions addressing the Rules, there is
                         not the slightest trace of a doubt that the right of control
                         resided in the longshoremen’s employers. The court below
                         simply underscored expressly what the Board had found
                         implicitly. The Board now seeks to rewrite its decisions in
                         this case by retrospectively inserting a right of control
                         analysis. The Board's analysis, however, is fundamentally
                         faulty. It is premised upon the astonishing contention that
                         “[c]ontrol over the disposition of containers is not
                         tantamount to control over the work in controversy.”
                         ...

                         The carriers have the obligation to accept cargo for
                         transport. However, they also have the right to control the
                         use of their property and the performance of their services
                         “in a manner and to the extent compatible with their labor
                         agreements and with both the carriers' and the union's
                         rights and duties under federal labor law.” Burlington
                         Truck Lines, Inc. v. United States, 371 U.S. 156, 177
                         (1962) (concurring opinion).

        Brief of Respondents, NLRB v. Int’l Longshoremen’s Ass’n, No. 79-1082, 1980 WL

        339332, at *36-40 (Apr. 5, 1980).1


        1
         USMX’s legal argument in this situation is so completely contrary to its prior
        position – or the position of its direct predecessor – that this Court should consider
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                   Likewise, in Am. Trucking, as affirmed by the Supreme Court, this Court

        observed:

                         Up until the Court decided ILA, no one seriously
                         contended that the Rules violated the Act for failure to
                         meet the ‘right of control’ test of Pipefitters . . . the
                         argument that the shipping lines do not have the right to
                         control the container work sought by the longshoremen
                         lacks any semblance of merit . . . In sum, the Board had
                         little difficulty finding that the shipping lines retain the
                         right to control the allocation of the work sought by the
                         ILA under the Rules. Substantial evidence exists to
                         support this finding.

        734 F.2d at 978.

                   And in ILA II, on the petition for certiorari consolidating Am. Trucking and a

        number of other Circuit Court decisions, the Supreme Court again found that the

        carriers have the right to control the containers that they lease or own:

                         In this case, the ALJ, Board, and Court of Appeals have
                         unanimously concluded that the longshoremen's
                         employers, marine shipping companies, have the “right to
                         control” container loading and unloading work by virtue
                         of their ownership or leasing control of the containers.

        ILA II, 473 U.S. at 74, n. 12.2


        invoking judicial estoppel. See Allen v. Zurich Ins. Co., 667 F.2d 1162 (4th Cir.
        1982) (party who asserts position that is inconsistent with position taken in prior
        proceeding may be estopped from arguing that position).
        2
         See the argument spelled out more fully in the ILA’s principal brief. ILA br. p. 45-
        46; citing Am. President Lines Ltd. v. Int'l Longshore & Warehouse Union, 997 F.
        Supp. 2d 1037, 1046-47 (D. Alaska 2014), aff’d 611 F. App’x 908 (9th Cir. 2015)
        (Carriers “control[] where [the carriers’] containers go, when they go, where they
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                   Similarly, USMX’s attempts to mischaracterize the work in dispute as the

        crane work in Charleston, USMX Br. 16, ignores this line of cases that USMX or

        its predecessor was a party to, and which clearly recognize that in the longshore

        industry, containers (and other sorts of cargo) are the work. This is why the ILA

        cannot be seeking “the work” at Leatherman Terminal, because “work” at any one

        marine terminal is contingent on cargo being brought there.

        B.         Article 7, Section 7 of the Master Contract
                   Shows the Carriers Control Their Containers

                   Perhaps realizing that the record before the Board does support its finding

        that the carriers can control where their containers go, USMX pivots to a contractual

        interpretation argument concerning Article 7, Section 7, of the Master Contract.

                   Neither the ALJ nor the Board attempted to resolve any contractual dispute

        between the parties—while acknowledging that such a dispute did exist. JA0943

        (unequivocally holding that the record established disagreement over the meaning




        go, when they get there, and who takes them.”); ILWU, Local 13 (Cal. Cartage), 278
        N.L.R.B. 220, 223 (1986) (“The containers are owned or leased by the steamship
        companies. Those companies control the use of the containers.”), enf’d in part, 822
        F.2d 1203 (D.C. Cir. 1987); Int'l Longshoremen's Ass'n, Local 1242 (Rail
        Distribution Ctr., Inc.), No. Case 4-CC-1955-1, 1992 WL 396134, at *3 (N.L.R.B.
        Div. of Advice) (Nov. 9, 1992) (carriers’ ownership or long-term lease of containers
        suggests that carriers have the authority to designate the routing and direction of
        their containers); Steamship Trade Ass’n of Baltimore (ILA Locals 333 & 953), 1989
        WL 1705876 (N.L.R.B. Div. of Advice 1989) (same).

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        of the provisions); JA1328.3 This makes sense, because “[w]here . . . the dispute

        is solely one of contract interpretation . . ., [the Board] will not seek to determine

        which of two equally plausible contract interpretations is correct.” Phelps Dodge

        Magnet Wire Corp., 346 N.L.R.B. 949, 951 (2006) (quotation omitted); NCR Corp.,

        271 N.L.R.B. 1212, 1213 (1984). Rather, “[a]s the Board has held for many years,

        with the approval of the courts: ‘. . . it will not effectuate the statutory policy . . . for

        the Board to assume the role of policing collective contracts between employers and

        labor organizations by attempting to decide whether disputes as to the meaning and

        administration of such contracts constitute unfair labor practices under the Act.”’

        United Telephone Co. of the West, 112 N.L.R.B. 779, 781 (1955) (quoting

        Consolidated Aircraft Corp., 47 N.L.R.B. 694, 706 (1943), enfd. 141 F.2d 785 (9th

        Cir. 1944)). Instead, “the parties’ recourse is to attempt to settle the question by

        negotiation and, if there is no settlement, by seeking judicial enforcement of their

        interpretation of the contract.” Metalcraft of Mayville, Inc., 367 N.L.R.B. No. 116,

        slip. op. at *4 (2019) (emphasis added). Thus, contractual interpretation is not

        before this court. JA1332, n. 17 (“We do not purport to interpret the contract or to




        3
         It is also curious that USMX would read additional purpose into Article 7, Section
        7 of the Master Contract regarding carrier control when USMX’s brief
        acknowledges that there is no agreement between the parties on what Article 7,
        Section 7 means. USMX Br. 31.
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        decide or predict the outcome of ILA’s lawsuit. A judge or jury will have to do

        that.”).

                   Besides, the ILA’s lawsuit does not once reference Article 7, Section 7,

        instead it relies on the valid no-contracting clause in the Containerization

        Agreement. Moreover, USMX’s argument that Article 7, Section 7 reflects the

        parties’ understanding that USMX and its carriers could not control the work

        performed in the Port of Charleston is pure obfuscation. To follow the argument,

        this Court would first have to supplant the loading and unloading work performed

        on the carriers’ cargo with the lift equipment work at Leatherman. USMX Br. 12-

        13. This Court would then have to ignore USMX’s former counsel Donato Caruso’s

        testimony, which explicitly acknowledges that Article 7, Section 7 has nothing to

        do with carrier control over their containers:

                        Q: . . . [If] the ILA were to attempt to apply article 7,
                        section 7 to prohibit carriers from calling [at Leatherman
                        Terminal], that your concern is that that would be an 8(e)
                        violation?

                        A: It would -- it would not be second -- section 7 because
                        that -- section 7 really doesn't have any of the provisions
                        that relate to jurisdiction. They -- they really are
                        containing in other provisions of the contract. So if
                        there were to be an attempt by the Union, the Union would
                        probably rely on those other provisions.

        JA0321, ll. 1-10.

                        Q: Understood, and section 7(b) of article 7 is the
                        provision in the master contract that contemplates the

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                        potential application, at least from the ILA's point of view,
                        of claiming jurisdiction over work that has historically
                        been -- been performed by state ports authorities; is that
                        correct?

                        A: I'm not sure it's -- I -- I think 7 -- in my opinion, 7(b)
                        was just a provision that allowed USMX to go forth to the
                        state authorities and at least inform them of the -- of the
                        possibility that the Union might raise a -- you know, an
                        issue with respect to the contract, not with respect the
                        7(b), but with respect to the provisions in the
                        containerization agreement and the jurisdiction
                        provisions that were utilized, as I said, in one case, that
                        is Bermuda Container Line, to prohibit a carrier member
                        of -- of USMX from going to port that did not have ILA
                        labor operating in that port.

        JA0322-23 (emphasis).

                   Thus, while completely undermining USMX’s argument on the provision’s

        meaning in terms of carrier control, Caruso also expressly acknowledged that the

        ILA could rely on the no-subcontracting clause of the Containerization Agreement,

        as it had in Bermuda Container Line Ltd v. Int’l Longshoremen’s Ass’n, to demand

        that a carrier cease contracting the ILA’s work from its bargaining unit. 192 F.3d

        250, 256-57 (2d Cir. 1999). Again, it is worth repeating that the ILA’s position was

        supported by management in Bermuda Container. And since that case, signatory

        carriers have exercised their control by refraining from calling at the Port of Salem,

        New Jersey, as well as various other non-bargaining-unit terminals coastwide.

                   USMX’s reliance on Article 7, Section 7(b), is undermined further by the

        language included in that provision of the Master Contract:

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                         USMX agrees to formally notify any port authority
                         contemplating the development of or intending to develop
                         a new container handling facility that USMX members
                         may be prohibited from using that new facility if the
                         work at that facility is not performed by Master Contract
                         bargaining-unit employees.

        JA0449.

                   Article 7, Section 7(b), is virtually an acknowledgement that the carriers do

        control the work performed on their containers through the phrase “may be

        prohibited.” Id. If USMX’s carriers cannot control the ports that their carriers travel

        to, how could the carriers ever be prohibited from using a newly opened facility as

        contemplated by Section 7(b)? Indeed, if the carriers have no control over where

        they subcontract the unloading of their containers, then why did they ever agree to

        the no-subcontracting clause in the first place?

                   Grasping at straws, USMX argues that the testimony of USMX CEO Adam

        shows that the ILA has waived its jurisdiction in the Port of Charleston. USMX Br.

        14-15. This argument, raised by SCSPA below, was squarely rejected by the ALJ:

                         [T]he Containerization Agreement requires that covered
                         carriers and their agents employ ILA-bargaining unit
                         members to perform all container work when they call on
                         ports on the East and Gulf Coast, and it prohibits them
                         from contracting out that work to non-ILA unit employees.
                         However, for nearly 50 years, these provisions have not
                         been applied or enforced against covered carriers that call
                         on the Port of Charleston, where the container work is
                         divided between ILA unit and non-ILA unit employees. .
                         . . As stated, the origin and rationale for this it is not clear
                         from the record, but there is no indication the parties
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                        intended to carve out, individually or collectively, these
                        three South Atlantic ports from the multi-port bargaining
                        unit.”

        JA0948 n. 32.

                   Despite allowing some violations of the no-subcontracting provision at older

            terminals in the South Atlantic and then agreeing to “red-circle” those terminals, the

            ILA never waived its right to enforce the no-contracting provision when carriers

            demonstrated their intent to begin subcontracting bargaining-unit work at a

            completely new location.

                   The new facility in Charleston forced the ILA to draw a line in the sand to

            make clear that it would not acquiesce to any further encroachments on Master

            Contract bargaining-unit work. Thus, the ILA filed its lawsuit with the lawful

            primary object of enforcing its contract against the carriers who promised not to

            subcontract bargaining-unit work to entities that did not employ members of the

            Master Contract’s coastwide unit. Metalcraft of Mayville, Inc., 367 N.L.R.B. slip.

            op. at *4 (judicial enforcement of contract clause is proper when negotiations fail).

        C.         A Showing of a Threat is Not Required
                   Before Engaging in Work Preservation

                   Continuing on its voyage to confuse this Court, USMX spends much of its

            brief arguing that it has no obligation4 to bypass the Port of Charleston because


        4
         The “obligation” to bypass Charleston altogether is completely hypothetical. The
        ILA has never maintained that the carriers must bypass the older terminals in
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        neither the ILA nor the Board have demonstrated an actual threat to bargaining unit

        work through the opening of Leatherman Terminal. USMX Br. 18-19.

                   This argument has nothing to do with whether USMX has control over its

        containers, and besides, it was considered and rejected by the Board.5 As the Board

        explained:

                        Here, as in the ILA cases, ILA is seeking to preserve the
                        traditional work and the jobs of unit employees in the face
                        of the technological advances affecting the coastal units,
                        including such changes as at the new Leatherman
                        Terminal. That ILA seeks to stop expansion of the hybrid
                        work model is merely one facet of preserving work for the
                        employees it represents. ILA, USMX, and USMX carrier
                        members are parties to the contract and any one of them
                        may seek to enforce it to reap the benefit of that party’s
                        perceived bargain.

        Charleston—as USMX acknowledges in its brief. USMX Br. 3, fn 3. Nor does this
        hypothetical have any bearing on whether the carriers could bypass a port, which
        Dave Adam acknowledges the ILA could if its bargaining unit work is being
        displaced. JA0201-02.
        5
         The ALJ had relied on Painters & Allied Trades Dist. Council No. 51 (Manganaro),
        321 N.L.R.B. 158 (1996) to improperly place the burden on the ILA to make an
        evidentiary showing of a specific looming threat before it can lawfully enforce a
        work-preservation clause. JA0948. Manganaro does not hold that a threat to unit
        jobs is a “condition precedent.” Rather, in Manganaro the Board held that “the
        evidence fails to demonstrate that [the employer’s] operations posed a threat to
        preservation of bargaining unit work,” but regardless the union had a lawful primary
        objective because, “viewed from the standpoint of the Union’s intent in the context
        of the multiemployer bargaining unit, . . . the Union had reason to believe that
        double-breasted operations by other signatory employers caused or threatened loss
        of unit work.” Id. at 166. Thus, the Board did not require a specific evidentiary
        showing that the threat was looming or imminent. Id. Rather, the mere possibility
        of a threat of lost work was sufficient. Id.

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        JA1332.

                   Both the ALJ and the USMX state that the ILA can only point to a

        “supposition” that cargo will be diverted to the new terminal, but the record shows

        that this supposition was a prudent conclusion based on evidence. JA0053, ll. 1-4;

        JA0072, ll. 17-19; JA0073, ll. 12-17; JA0074, ll. 8-9; JA0092, ll. 17-25; JA0093, ll.

        1-2 (James Newsome, III testifying that increased amounts of discretionary cargo

        will be handled by non-unit employees since using bargaining-unit employees is

        “more expensive” than hiring non-bargaining-unit employees); JA0084, ll. 14-25;

        JA0153-54 (Newsome testifying that the Port handles cargo that is destined for out-

        of-state locations); JA0581.         USMX also conveniently ignores Newsome’s

        testimony that Charleston was trying to capture new discretionary cargo:

                        I -- I can say with certainty that we invest a billion dollar
                        in new facilities to assimilate growth. We have the good
                        fortune of being the fastest growing port in percentage
                        terms since 2010 -- about twice the U.S. port market, so
                        yes, we're growth oriented, and we open new terminals to
                        -- to assimilate growth. And that's international cargo; we
                        don't do domestic cargo here, so.

        JA0154, ll. 17-23; see also JA0053, ll. 1-3 (Newsome testifying that SCSPA “is

        given a statutory mission to foster the growth of waterborne commerce in South

        [Carolina]”); JA0072, ll. 17-25 (Newsome testifying that COSCO shipping lines

        felt Leatherman could support its “growth aspirations”); JA0074, ll. 6-9 (Newsome

        testifying that carriers recognized the significant investments in infrastructure made

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        by SCSPA); JA0084, ll. 19-25; JA0581, ll. 16-19 (Senator Hugh K. Leatherman

        stating “I've fought tooth and toenail to keep Savannah from continuing to grow,

        trying to attract away our carriers and trying to grow. . .”). Indeed, as Newsome has

        also said publicly, “Discretionary cargo — that’s where the growth is.” JOURNAL

        OF COMMERCE, Charleston charts growth with focus on discretionary cargo (Sept.

        8,            2014)        https://www.joc.com/article/charleston-charts-growth-focus-

        discretionary-cargo_20140908.html (emphasis added).

                   The public record is also replete with evidence that discretionary cargo from

        Asia is being attracted to the East and Gulf Coast from the West Coast.6 JOURNAL

        OF COMMERCE, US ag exporters feel pinch of work shift cuts at West Coast

        terminals, https://www.joc.com/article/us-ag-exporters-feel-pinch-work-shift-cuts-

        west-coast-terminals_20230328.html (Mar. 28, 2023) (“[R]etailers, concerned

        about the lack of progress in contract negotiations between the ILWU and the

        Pacific Maritime Association (PMA), shifted a large volume of their discretionary

        cargo to ports along the East and Gulf coasts.”); JOURNAL OF COMMERCE, US SE



        6
          The public record also has ample evidence that SCSPA intends to capitalize on this
        opportunity. E.g., SC Ports opens state-of-the-art Hugh K. Leatherman Terminal,
        South Carolina Ports (Apr. 9, 2021), http://scspa.com/news/sc-ports-opens-state-of-
        the-art-hugh-k-leatherman-terminal/ (“We have invested in the right infrastructure
        at the right time to handle growing cargo volumes and bigger ships, ensuring SC
        Ports remains a top 10 U.S. container port. The Leatherman Terminal adds a berth
        and more capacity to the Port of Charleston when it is most needed on the East
        Coast,” says James Newsome, CEO and President of the Ports Authority.).
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        ports prepping for more growth amid continued West Coast diversions,

        https://www.joc.com/article/us-se-ports-prepping-more-growth-amid-continued-

        west-coast-diversions_20230306.html (Mar. 6, 2023) (SCSPA’s Chief Financial

        Officer crediting Port of Charleston as key role player in handling discretionary

        cargo from Asia and the West Coast); POST AND COURIER, West Coast labor strife

        driving             retail             imports             to             Charleston,

        https://www.postandcourier.com/business/west-coast-labor-strife-driving-retail-

        imports-to-charleston-other-east-coast-sites/article_7d5e80ea-509c-11ed-a124-

        536ae592fc56.html#newsletter-popup (Oct. 23, 2022) (“Retailers are getting weary

        of repeated labor problems at West Coast ports, and the protracted contract

        negotiations there is triggering a cargo move to the Port of Charleston and other

        East Coast locations, executives said at last week’s S.C. International Trade

        Conference.”). The Chamber of Commerce also noted in its amicus brief that labor

        unrest has driven carriers to divert cargo from the West Coast to the East Coast.7

        CCB Br. 21. If discretionary cargo can be attracted from one coast of the United

        States to the other, it can be attracted from one port to another on the East Coast.8


        7
         This also proves the reality of the carriers’ right of control over container-handling
        work—that the carriers have chosen to divert cargo from the West Coast due to labor
        unrest demonstrates their control over the ports on which they call.
        8
         The public record also shows that the other ports operating the hybrid model are
        eager to follow Charleston’s lead in expanding the hybrid model. Journal of
        Commerce, Savannah doubles down on terminal expansion with $1.4 billion
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                   USMX also makes the confounding claim that the Board failed to contend

        with the ALJ’s analysis of Bermuda Container on the carriers’ right of control,

        calling it “yet another unexplained mystery of its decision.” But this is just yet

        another false premise. The ALJ found that the carriers’ have the right of control

        over the work performed on their containers. In fact, nothing in the ALJ’s decision

        resembles anything close to saying that Bermuda Container undermines the

        carriers’ right of control over the work performed on their containers. Instead, the

        ALJ relied on “the contractual similarities with Bermuda Container” to find that

        within the ILA’s coastwide unit, the USMX carrier-members “determine what ports

        they call on, which ultimately gives the carriers the right to control who performs

        the lift-equipment work on their containers.” JA0948.

                   USMX’s position is even more astonishing given that one of its members, the

        New York Shipping Association, Inc. (NYSA) once argued as follows in a joint

        amicus brief with the ILA:

                         BCL's denial of its status as an employer of the longshore
                         workers servicing its vessels runs afoul of the prevailing
                         labor law rule that in the longshore industry carriers by
                         virtue of their membership in multiemployer associations
                         that determine the terms and conditions of longshore
                         employment are the employers of the longshore workers
                         who service their vessels. This principle recognizes that it
                         is the carriers' ships which provide the work and


        investment,         https://www.joc.com/article/savannah-doubles-down-terminal-
        expansion-14-billion-investment_20230509.html (May 9, 2023) (discussing
        Savannah’s plans to expand capacity).
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                         workplace for longshoremen, that it is the carriers who
                         bear the cost of longshore labor and pay directly the
                         longshoremen's compensation, including fringe benefit
                         contributions and a portion of their direct remuneration,
                         and that it is the carriers who have control over the
                         assignment and preservation of longshore work. It is on
                         the strength of this principle that carrier members of
                         NYSA and other multiemployer associations in the
                         longshore industry are certified by the NLRB as longshore
                         employers.

        Brief for Appellees, Bermuda Container Line Ltd. v. ILA, No. 99-7164, 1999 WL

        33631034, at *17-18 (2d Cir. Apr. 26, 1999).

                   NYSA further argued:

                         Moreover, the carriers--to the exclusion of all other
                         entities in the industry--control the use of vessels and
                         containers. They thus have absolute control over the
                         assignment and preservation of longshore work--an
                         essential “term or condition of employment.” Fibreboard
                         Paper Products Corp. v. NLRB, 379 U.S. 203 (1964).

        Id. at *26.

        D.         The Sole Case Cited by USMX is Inapposite

                   Like SCSPA, USMX ignores altogether this Court’s decision in Am. Trucking

        Ass’n v. NLRB. 734 F.2d 966 (1984). In Am. Trucking, affirmed in pertinent part

        by ILA II, this Court harshly criticized any challenge to the carriers’ “right-to-

        control” as “lack[ing] any semblance of merit” due to the carriers’ container

        ownership. Id. at 978.




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                   Turning a blind eye to binding precedent in which USMX or its corporate

        predecessors frequently helped develop—USMX instead fixates on the Board’s

        distinguishable decision in the ICTSI case. See Int’l Longshore Workers Union

        (ICTSI), 363 N.L.R.B. 121 (2015), enf’d. 705 F. App’x 1 (D.C. Cir. 2017); and

        Hooks v. ILWU, 544 F. App’x 657 (9th Cir. 2013). But ICTSI has no bearing here

        because it did not concern the carriers’ right to decide where their containers should

        go, but rather whether the carriers had the right to assign the jobs at a specific

        terminal. 9

                   In ICTSI, a dispute arose concerning two jobs which involved the plugging,

        unplugging, and monitoring of refrigerated shipping containers, known as reefer

        work, at Terminal 6 in the Port of Portland. Hooks v. ILWU, 905 F. Supp. 2d 1198,

        1203 (D. Or. 2012), aff'd in part, vacated in part, remanded sub nom. Hooks, 544

        F. App'x 657 (9th Cir. 2013). The reefer work had been performed at Terminal 6

        by IBEW-represented electricians pursuant to an agreement between the IBEW and

        the Port of Portland, which was incorporated in a lease agreement between ICTSI

        and the Port of Portland allowing ICTSI to operate Terminal 6. Id. After ICTSI



        9
          USMX quotes an analogy from the Board’s brief implying that carriers are not the
        bargaining unit’s employers, but rather analogous to customers of an auto-shop.
        USMX Br. 21. That USMX would espouse such an analogy is offensive and
        ludicrous given that the carriers have been acting as the longshoremen’s employers,
        and bargaining with their employees’ representative, for over a century.

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        took over operations at the terminal, the ILWU took numerous steps, including

        filing grievances and engaging in work stoppages and slowdowns, in order to

        pressure ICTSI to reassign the reefer jobs at Terminal 6 to ILWU-represented

        employees.10 The Board concluded that these actions constituted unfair labor

        practices because the Port of Portland retained the right of control over the reefer

        work in dispute as the lease between the Port of Portland and ICTSI stated a

        contractual obligation to assign the work to the IBEW electricians. Int’l Longshore

        & Warehouse Union (ICTSI, Inc.), 363 N.L.R.B. No. 12 (2015).

                   At each stage in the ICTSI case, the work in dispute was appropriately defined

        narrowly to only include the site-specific reefer work at Terminal 6. E.g., ILWU &

        Port of Portland, No. JD(SF)-36-13, 2013 WL 4587186 (Aug. 28, 2013) (NLRB

        Regional Director defining the work is dispute in his 10(k) hearing notice as the

        “plugging, unplugging, and monitoring of refrigerated cargo containers for ICTSI,

        Inc., at Terminal 6 of the Port of Portland, Portland, Oregon”). Thus, in ICTSI, as


        10
           Unlike ICTSI, there have been no slowdowns by the ILA at any terminal in
        Charleston—including Leatherman. And the ILA’s lawsuit does not demand that
        USMX or its carrier-members reassign jobs that the carrier-members have no control
        over. Conversely, in ICTSI the ILWU was not asking that the carriers refrain from
        calling at ICTSI’s terminal but demanding reassignment of the reefer work. The
        ILA’s lawsuit is targeted at USMX-member carriers who have the right to control
        where their containers go, asking only that USMX and its carrier members keep their
        no-subcontracting promise. Even USMX concedes that it cannot compar[e] the
        ILA’s conduct in this case to the ILWU’s conduct in the Portland case.” USMX Br
        21, fn 3.

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         here, the carriers do not have control over job assignments once the container is on

         the terminal. But that does not mean they do not control the vessels that brought

         the containers to the terminal in the first place.11

                   The carriers in ICTSI also understood the nature of the ILWU’s demand to be

         reassignment of the reefer jobs, as the carriers sent numerous emails to the Port and

         ICTSI demanding that they use ILWU members to perform the reefer work at

         Terminal 6. Hooks, 905 F. Supp. 2d at 1212. The ILWU’s demand was clear to the

         carriers and the carriers reacted to the pressure they felt from the ILWU to seek the

         jobs at Terminal 6 on the ILWU’s behalf. See id.

                   In contrast, in response the ILA’s lawsuit, the USMX carrier members never

         made any demand that the ILA-represented employees perform the lift-equipment

         work at Leatherman (or elsewhere in Charleston). Rather, the carriers demanded

         that the Port reassign their vessels to Wando Welch Terminal and away from

         Leatherman. JA0611-12. And in doing so, the carriers demonstrated their right of



        11
          USMX’s argument that the Board’s conclusion on the right of control issue is
        entitled to no deference because it is inconsistent with the Board’s position in ICTSI
        falls apart on itself. USMX explains that the Board in ICTSI took a different
        approach than it had in ILA II because the Board’s decision in that case “refers to
        factual conclusions involving a different type of work based upon a specific
        evidentiary record in the case before it.” USMX Br. 24. The Board engaged in the
        very same reasoning here, and it makes sense for the Board to apply a reasoning
        consistent with ILA II in the present case because ILA II and this proceeding involve
        the same bargaining unit. ICTSI does not.

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        control by threatening to bypass Charleston altogether if their request for a terminal

        reassignment was not met. See id.

                   In its mistaken reliance on ICTSI, USMX highlights a crucial distinction

        missing here: the ILA does not seek the reassignment of the lift-equipment work at

        Leatherman Terminal, any more than it sought reassignment of jobs at the Port of

        Salem in the Bermuda Container case. As the Board and the ALJ both found, the

        work in dispute in this case has always been the lift-equipment work performed on

        containers generally coastwide. JA1332; JA0948. In such circumstances, Supreme

        Court and this Court’s precedent dictate that the ILA carriers possess the right of

        control over the container-handling work in dispute. ILA II, 473 U.S. at 74; Am.

        Trucking Assn., 734 F.2d at 966-977. Moreover, USMX also ignores subsequent

        decisions that find the ILWU carriers also have the right of control over container

        work. In APL v. ILWU, the Ninth Circuit applied ILA II to hold that a union carrier

        has the “right of control” over container-handling work because its ownership of

        the containers gives it control over their disposition and terms of their release to

        others. 611 F. App'x 908, 911 (9th Cir. 2015) (the carrier “control[s] where [its]

        containers go, when they go, how many go, where they go when they get there, and

        who takes them there”).




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        E.         Prior Board and Court Decisions Discussing the
                   Master Contract Bargaining Unit Have Held That
                   USMX-Represented Carriers Are the Primary Employers
                   Who Control The Work Performed on Their Containers

                   USMX’s argument in this proceeding that it does not control its containers is

        so egregious because USMX has repeatedly argued that its carriers do control the

        work performed on their containers in the past. See Bermuda Container Line Ltd.,

        192 F.3d at 256-57 (“The Containerization Agreement was designed to preserve the

        work of ILA employees in the coast-wide bargaining unit and was directed at [the

        primary employment relationship] by virtue of [the carriers] status in the multi-

        employer bargaining association); see also, supra, pp. 8, 20.12

                   By nature of the USMX-ILA Master Contract, USMX and its carriers are the

        primary employers of the Master Contract’s coastwide bargaining unit who



        12
           USMX’s overarching argument in its brief that the Board’s conclusion is
        inconsistent with the Board’s prior decisions is also belied by the other occasions in
        which the Board considered whether USMX and its carriers have control over the
        work performed by the Master Contract bargaining unit. Int’l Longshoremen’s Ass’n
        (Greenwich Terminals), 04-CC-123452, 42 N.L.R.B. AMR 7, at *5 (N.L.R.B. Div.
        of Advice 2014) (“[B]y virtue of owning or leasing the containers, the Carriers can
        ensure that ILA-represented employees perform the disputed work because “the
        contractual assignment to the ILA operates as a prior restraint upon shippers,
        importers, or their agents who would choose to utilize containers owned or leased
        by the steamship companies in violation of the latter’s obligation to deep sea ILA
        labor.”) (citation omitted); ILA & its Local 1291 (Holt Cargo), 4-CC-2124-1, 1996
        WL 625508, at *3 (N.L.R.B. Div. of Advice 1996) (Holding that “‘[i]t is difficult to
        imagine a more forceful demonstration of control’” than the control the carriers can
        exercise over their containers) (quoting Int’l Longshoremen’s Ass’n v. NLRB, 613
        F.2d 890, 913 (D.C. Cir. 1979)).
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        promised not to contract unit work away from the unit. Bermuda Container Line v.

        ILA, 1997 WL 795766, at *10-11 (S.D.N.Y. 1997). Just as in Bermuda Container,

        by calling at Leatherman Terminal, the carriers are breaching their no-

        subcontracting promise within the Master Contract.

                   USMX argues repeatedly against an argument that the ILA never made in its

        state court lawsuit or any of its briefs to the Board: that its members have a right to

        the lift-equipment jobs at Leatherman. USMX Br. 6, 11, 15 16. To give it face

        value would require this Court to ignore the record evidence of the ILA’s state court

        complaint, which never asked for those assignments. USMX also asks this Court

        to ignore binding precedent. See LRB v. Int’l Longshoremen’s Ass’n, 447 U.S. 490

        (1980) (“ILA I”); ILA II, 473 U.S. 61; Bermuda Container, 192 F.3d at 256-57. This

        Court must hold USMX and its carriers to this no subcontracting promise that—

        until now—they have stood by for decades.




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                                             CONCLUSION

                   The petition for review should be dismissed.


        Dated: May 30, 2023

                                                          Respectfully submitted,



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                                   CERTIFICATE OF COMPLIANCE

                   In accordance with Federal Rule of Appellate Procedure 32(g)(1), I certify that

        the International Longshoremen’s Association’s Response to USMX’s Motion for

        Leave to Intervene complies with the type-volume limitations of Federal Rule of

        Appellate Procedure 27(d)(2)(A) because it contains 5,736 words, excluding the

        parts of the document that are exempted by Federal Rule of Appellate Procedure

        Rule 32(f), according to the Word Count function of Microsoft Word. I further

        certify that this motion complies with the typeface requirements of Federal Rule of

        Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

        Appellate Procedure 32(a)(6) because it has been prepared in a proportionally spaced

        typeface utilizing Microsoft Word 2016 in 14-point Times New Roman font.


        Dated: May 30, 2023
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                                      CERTIFICATE OF SERVICE

                   I hereby certify that on May 30, 2023, I filed the foregoing document with the

        Clerk of the Court for the United States Court of Appeals for the Fourth Circuit by

        using the CM/ECF system. I certify that the foregoing document is being served

        today via email upon the following counsel:


        Dated: May 30, 2023


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